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19
                             UNITED STATES DISTRICT COURT
20                         NORTHERN DISTRICT OF CALIFORNIA
21
     CHASOM BROWN, WILLIAM BYATT,              Case No.: 4:20-cv-03664-YGR-SVK
22   JEREMY DAVIS, CHRISTOPHER
     CASTILLO, and MONIQUE TRUJILLO            PLAINTIFFS’ ADMINISTRATIVE
23   individually and on behalf of all other   MOTION TO SEAL MATERIALS
     similarly situated,                       PRESENTED DURING MARCH 2, 2023
24
                                               HEARING
                         Plaintiffs,
25                                             Judge: Hon. Susan van Keulen
        v.
26
     GOOGLE LLC,
27                       Defendant.

28
                                                             CASE NO. 4:20-CV-03664-YGR-SVK
                           PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                        MATERIALS PRESENTED DURING MARCH 2, 2023 HEARING
                Case 4:20-cv-03664-YGR Document 893 Filed 03/13/23 Page 2 of 4



 1             Pursuant to Civil Local Rule 79-5 and this Court’s March 10, 2023 Order (Dkt. 891),

 2   Plaintiffs submit the attached hearing slides which they presented during the March 2, 2023,

 3   hearing on the Court’s Order to Show Cause (Dkt. 784). Consistent with the Court’s instructions,

 4   this filing only includes the slides which Plaintiffs displayed during the hearing in the order these

 5   slides were presented. Plaintiffs also respectfully ask that the Court consider whether Google

 6   LLC’s (“Google”) material should be sealed. The following material is included within these

 7   slides:

 8    Document or Portion of Document               Party Claiming      Basis for Sealing
      Sought to Be Sealed                           Confidentiality
 9    Slides presented at the March 2, 2023         Google              Contains Material Designated
      Hearing; Sealed in their Entirety.                                “Confidential” or “Highly
10
                                                                        Confidential” by Google
11                                                                      pursuant to the Protective
                                                                        Order
12
               Pursuant to Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of
13
     establishing that the designated material is sealable.
14

15   Dated: March 13, 2023.                         Respectfully Submitted,

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